        Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 1 of 32



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15   Attorneys for Petitioner EDAG Engineering GmbH,
     a corporation organized and existing under the laws
16   of the Republic of Germany

17                              UNITED STATES DISTRICT COURT

18           NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

19
     EDAG Engineering GmbH,                                Case No. 3:21-cv-04736-EMC
20                                                         NOTICE OF MOTION AND MOTION FOR
             Petitioner,                                   RELIEF UNDER FRCP 37(b)(2)(A)(vii) and RULE
                                                           37(e)(2)(C) FOR THE FAILURE AND REFUSAL
21                                                         TO TURN OVER ANY AND ALL LEDGERS,
             v.
                                                           JOURNALS AND NOTES (#4/#127) AND
22                                                         FAILURE TO PRESERVE ELECTRONICALLY
     BYTON North America Corporation,
                                                           STORED INFORMATION (#4, DOC. 127) AND
23                                                         ALL LEDGERS, JOURNAL AND NOTES OF
             Respondent                                    BNA CLAIMED TO BE IN THE "CLOUD"
24
                                                           Judge: Honorable Edward M. Chen [Video-
25                                                         ZOOM hearing)
                                                           Petition Filed: June 23, 2021
26

27

28                                             -1-
      NOTICE OF MOTION AND MOTION FOR RELIEF UNDER FRCP 37(b)(2)(A) (I) to (vii) and RULE 37(e)(2)(C)
     FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND NOTES (#4,
     DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION (#4, DOC. 127) AND
                 ALL LEDGERS, JOURNAL AND NOTES OF BNA CLAIMED TO BE IN THE "CLOUD"
        Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 2 of 32


            TO BYTON NORTH AMERICA CORPORATION, a Delaware corporation, ("BNA")
 1
     ATTORNEYS OF RECORD:
 2
            Please take notice on the 19th day of May, 2022, at the hour of 1:30 p.m., or as soon
 3   thereafter, the before Honorable Edward M. Chen, Judge of the United State District Court, to be
 4   heard via ZOOM/Other electronic means, EDAG Engineering GmbH ("EDAG") moves this court
 5   for the following relief as follows:

 6          1.      Enter a Default Judgment for the pending Motion to Amend for BNA and Byton
     Limited ("By-Limited"), each of them, jointly and severely, for the total of the judgment of
 7
     $30,231,689.48 (Doc. # 49), pursuant to Rule 37(b)(2)(A)(vi)(Doc. # 71 & 72) for the failure to
 8
     comply with the order to turnover any and all ledgers, journal and notes (#4, Doc.# 127) [RFP # 4].
 9
            2.      Enter a Default Judgment for the pending Motion to Amend that BNA and By-
10   Limited are the same and jointly and severally liable for the judgment (Doc. # 49) pursuant Rule 37
11   (e)(2)(C) for the failure to comply with "If electronically stored information that should have been

12   preserved in the anticipation or conduct of litigation is lost because a party failed to take reasonable
     steps to preserve it, and it cannot be restored or replaced through additional discovery, the court . . ".
13
            The basis of this motion is the following:
14
            (A)     EDAG served a SDT which sought the production of any and all ledgers, journals,
15
     and notes # 4 which was never produced, despite the order thereof (Doc. # 127) and thirty days
16   thereof, as of March 24, 2022:
17           “4. Any and all financial statements, whether audited or unaudited, ledgers, journals,
     internal financial statements., credit reports, credit applications, outside or inside financial
18   statements, representation of the financial conditions of BNA, any financial records generated from
     a third party of BNA, notes, narrative, chronicles, or histories of BNA account commencing on
19
     January I, 2018 to date hereof." (#4, Doc. 127) [RFP # 4)
20
     BNA was ordered to turn over any and all ledgers, journal,s and notes on March 24, 2022 (i.e., 30
21
     days from February 22, 2022) ("Document Order"# 4, Doc. # 127) as follows:
22          "The Court now orders BYTON to produce documents responsive to RFPs 4 and 15 within
23   30 days. . . . . . [AND]

24          Accordingly, the Court grants EDAG’s motion to compel as to RFPs 4 and 15 and orders
     BYTON to produce responsive documents within 30 days. The Court denies EDAG’s motion to
25   compel as to RFP 13.” (Doc. # 127, P. 2 lines 6 to 24)
26          Any and all ledgers, journals and notes #4, Doc. #127 ["#4/#127"] have not been provided
27   on March 24, 2022. Notwithstanding the protective order (Doc. # 150), the BNA remained ordered
28                                                  2
      NOTICE OF MOTION AND MOTION FOR RELIEF UNDER FRCP 37(b)(2)(A)(i) to (vii) and RULE 37(e)(2)(C)
     FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND NOTES (#4,
     DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION (#4, DOC. 127) AND
                 ALL LEDGERS, JOURNAL AND NOTES OF BNA CLAIMED TO BE IN THE "CLOUD"
          Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 3 of 32


     to comply with the Discovery Order to produce records (Doc. # 127), as follows: "EDAG’s second
 1
     objection that BYTON will not produce documents does not seem to have anything to do with the
 2
     protective order issue." (Doc. # 150, P. 2, lines 8 to 9).
 3            At the hearing of March 31, 2022, BNA did not produce any and all ledgers, journals, and
 4   notes consistent with #4/#127 and without any rationale and hence liability for consequences under
 5   Rule 37(b)(2)(A)(vi). Nothing in the Protective Order (Doc. # 150) excuses BNA from not

 6   producing any and all ledgers, journals, and notes listed (#4/#127) when Sadha controlled:
             “So -- so let's -- let's go back to, say, 2021? Is it a fair statement that you are based -- you
 7   were in control of BNA because nobody else was there? Is that a fair statement? A. I was
 8   responsible for managing the operational activities of BNA. Q. Did you ever, say, in 2021 --
     make sure I get this correctly.” (Block # 27 (P. 117) (and Blocks ##: 35, 36 and 37)
 9
              B.      BNA (and its surrogates or participates there) failed to preserve electronically stored
10
     information only upon finding that the party acted with the intent to deprive another party of the
11
     information's use in the litigation may: “(C) dismiss the action or enter a default judgment. Rule
12   37(e)(2)(C) i.e., ledgers, journal and notes” when the "records" are in the Clouds (India, China or
13   Philippines) and completely inaccessible.
14            BNA and its surrogates intended to render the alleged "records" inaccessible, chaotic,
     destroyed, lost among unknown individuals, tampered, admitted a "mess," impossible to reconstruct,
15
     in the hands of the "cloud," somewhere in the India, Philippines or China (or nowhere) as follows 1:
16
              No knowledge of Investors and any and all ledgers, journals and notes: Blocks No #: 6, 7, 8,
17
     9, 10, 11, 12, 13, 14, 16, & 32. No documents are accessible, i.e., does not exist, no produced and
18   lodged somewhere in China: Blocks #: 7, 8, 9, 10, 11, 11, 12, 13, 14, 15, 16, 20 39, 40, 41, 42, 43,
19   and 44, & 47. No access to BNA any and all ledgers, journals and notes: Blocks #: 41, 42, 43, 44,
20   45, 46, & 48. No Employees of BNA: Blocks #: 15 & 16. Vice President of Finance and signed

21   documents but not employees or bona fide VP of BNA Blocks #: 17, 18, 19, & 39, No access of the
     BNA Document Block #: 20. Sadha Kameswaran 2 did not know ZHANG YING. Block #: 28.
22
     Zhang Ying did not receive any BNA any and all ledgers, journals and notes Blocks #: 28, 29 & 30.
23
     FMC did not get documents from BNA. Blocks #: 31 & 33. Byton entities imposed restriction in
24   disclosing financial. Blocks #: 41, 42, 43, 44, & 45. (Blocks ##9, 10, 11, 12, 13, 16, 39 & 40).
25            The failure to produce any and all ledgers, journals, and notes is the failure to meet the
26
     1
         Records in the Cloud in China, India or Philippines: Blocks # 39 & 40
27   2
         Here after, addressed as “Sadha” given page limits.
28                                                       3
      NOTICE OF MOTION AND MOTION FOR RELIEF UNDER FRCP 37(b)(2)(A)(i) to (vii) and RULE 37(e)(2)(C)
     FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND NOTES (#4,
     DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION (#4, DOC. 127) AND
                 ALL LEDGERS, JOURNAL AND NOTES OF BNA CLAIMED TO BE IN THE "CLOUD"
         Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 4 of 32


     standing of "should have been preserved in the anticipation or conduct of litigation is lost because a
 1
     party failed to take reasonable steps to preserve it, and it cannot be restored or replaced through
 2
     additional discovery." Rule 37(e)(2)(C) Ledgers, journal and notes compose the entirety of a
 3   financial statement as every financial statements is a snap shot at the moment.
 4           But, in the end, Plaintiff will demonstrate that the "financial statements," (if they exist) are
 5   fakes, and the ledgers, journals, and notes are nonexistent and because: "BNA did not sell product to

 6   any external customers. The only work BNA was doing was R&D work for the -- the sister entity in
     China and getting paid for it. So BNA did not have any other revenue stream, other than getting paid
 7
     for the work that was being done by the -- the R&D engineers. Q. Any -- any income for the year of
 8
     2018? A. Again, it would be whatever work was done, we were getting paid for. I wouldn't
 9
     remember the exact numbers for any one of the years, for that matter." (Block #49-#51)
10           This motion is based on this Notice herein, the Memorandum of Points and Authorities,
11   Declaration of David J. Cook, Esq., (Doc. # 133-1, Ex's: "A," "B," and "C " ) Declaration of

12   Zhang Ying, the two Meet and Confer transcripts, the deposition transcripts of Sadha 3, the
     transcript of the examination of Sadha of March 11, 2022, bank records of Silicon Valley Bank,
13
     JPMORGAN Chase Bank, HSBC BANK USA, all matters which the court may take judicial notice
14
     thereof of FRE 201, all matters on file herein, all papers, pleadings, and other matters on file herein,
15
     and all oral and written evidence and argument at the hearing hereof.
16   Dated: April 12, 2022                                Respectfully submitted,
17
                                                          COOK COLLECTION ATTORNEYS PLC
18
                                                        By:     /s/ David J. Cook
19
                                                          David J. Cook, Esq.
20                                                        Attorneys for Petitioner EDAG ENGINEERING

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27   3
         The name is shortened given the page length.
28                                                       4
      NOTICE OF MOTION AND MOTION FOR RELIEF UNDER FRCP 37(b)(2)(A)(i) to (vii) and RULE 37(e)(2)(C)
     FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND NOTES (#4,
     DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION (#4, DOC. 127) AND
                 ALL LEDGERS, JOURNAL AND NOTES OF BNA CLAIMED TO BE IN THE "CLOUD"
           Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 5 of 32



 1

 2
     TABLE OF CONTENTS
     I.         STATUS OF THE CASE ........................................................................................................... 1
 3
           A.      INTRODUCTION ........................................................................................................................... 1
 4         B. BNA IS IN CONTEMPT OF COURT FOR THE FAILURE TO TURN OVER THE #4 [ANY AND
           ALL LEDGERS, JOURNALS AND NOTES DUE ON MARCH 24, 2022............................................... 4
 5
           C. BNA CLAIMS THAT ANY AND ALL LEDGERS, JOURNALS AND NOTES ARE IN THE
 6         CLOUD, MYTHICAL OR TRASHED BY BNA (Block # 9, 10, 11, 12, 13, 16, 39 & 40),. ...................... 5
                1. BNA AND SURROGATE SPIRITED ALL RECORDS ................................................................................... 6
 7              2. BNA SPIRITED ANY ALL LEDGERS, JOURNAL AND NOTES OR DON'T EXIST.............................. 17
                3.   PROOF OF MYTH AND FAKE LEDGERS, JOURNAL AND NOTES. .................................................. 17
 8
     II.        REMEDIES AVAILABLE RULE 37(b)(2)(A)(vi) AND RULE 37(e)(2) and (C). ...................... 20
 9         A.      RELIEF UNDER RULE 37(b)(2)(A)(vi) .........................................................................................20
                1.  EDAG likewise Seeks Relief under Rule 37(e)(2)(C) ................................................................................ 21
10              2.  INTENT INFERRED FOR THE FAILURE TO TAKE MEASURES TO PRESERVE RELEVANT
                EVIDENCE AND INCRIMINATING OF EVIDENCE OF CORRUPTION....................................................... 23
11              3.  HIDING ANY AND ALL LEDGERS, JOURNALS AND NOTES IS PROOF OF GUILT ....................... 23
                4.   BALANCING FACTORS ....................................................................................................................... 24
12
     III. FAILURE TO COMPLY WITH AN ORDER TO PRODUCE ANY AND ALL LEDGERS,
13   JOURNALS AND NOTES RESULTS IN A DEFAULT JUDGMENT............................................... 24
     IV.           FAKE RECORDS OR RECORDS SCATTERED HITHER AND YONG............................... 25
14

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                                                                              TABLES
         Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 6 of 32



 1   TABLE OF AUTHORITIES
 2   Cases
 3   Cty. of San Bernardino, [part committed] 2020 WL 1496444, at *3 (C.D. Cal. Feb. 27, 2020) ....... 21
 4   Acosta v. Austin Elec. Servs. LLC, 324 F.R.D. 210, 211–12 (D. Ariz. 2017) ..................................... 2
 5
     Boeing Co. v. KB Yuzhnoye, 2016 WL 2851297 at *15 (C.D. Cal. May 13, 2016) ............................ 2
 6
     In re Chemours Company Securities Litigation United States District Court, D. Delaware. February
 7      24, 2022 Slip Copy2022 WL 610671 Page 9,( Fed. Sec. L. Rep. P 101,330 ) ............................... 3

 8   Mfg. Automation & Software Sys., Inc. v. Hughes, WL 2059839, at *4 (C.D. Cal.
       Apr. 30, 2018) ............................................................................................................................ 24
 9
     Piedmont Plastics, Inc. v. Mize Co., 58 N.C. App. 135, 138–39, 293 S.E.2d 219, 222 (1982) ........... 2
10
     S. New England Tel. Co. v. Glob. NAPs, Inc., 251 F.R.D. 82, 90–91 (D. Conn. 2008), aff'd, 624 F.3d
11
        123 (2d Cir. 2010) ...................................................................................................................... 25
12
     United States v. Catabran, 836 F.2d 453, 456–57 (9th Cir. 1988)..................................................... 2
13   Rules
14
     FRCP 37(b).......................................................................................................................2, 3, 20, 24
15
     Rule 37(b)(2)(A)(vi) .............................................................................................................. 2, 3, 20
16
     FRCP 37(e) .................................................................................................................................... 24
17
     FRCP 37(e)(2)(C) .......................................................................................................................... 20
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                                                                       TABLES
          Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 7 of 32


         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION
 1       AND MOTION FOR RELIEF UNDER FRCP 37(b)(2)(A)(vii) and RULE 37(E)(2)(A)-(C) FOR
 2       THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS
         AND NOTES (#4/Doc. #127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED
 3       INFORMATION (#4, DOC. #127) AND ALL ANY AND ALL LEDGERS, JOURNALS AND
                        NOTES OF BNA CLAIMED TO BE IN THE "CLOUD"
 4

 5   I.      STATUS OF THE CASE

 6           A.      INTRODUCTION

 7            BNA has not produced "Any and all . . ." "ledgers," "journal," and "notes" which are ordered

 8   (# 4, Doc. #1274) as follows:
             “4. Any and all financial statements, whether audited or unaudited, ledgers, journals,
 9
     internal financial statements., credit reports, credit applications, outside or inside financial
10   statements, representation of the financial conditions of BNA, any financial records generated from
     a third party of BNA, notes, narrative, chronicles, or histories of BNA account commencing on
11   January I, 2018 to date hereof." (#4/#127)."
12           BNA is ordered to produce the following: any and all ledgers, journals, and notes ( #4/#127).
13   Without any and all ledgers, journals, and notes, the bona fide financial statements and profit and
14   loss statements are fabrications because any bona fide financial statements and profit and loss
     statements are compilations, aggregations, accumulations and representations as follows: 5
15
             "Despite Defendants' alleged confusion regarding the definition of a “general ledger,” there
16   is no question of what is requested. “The general ledger is nothing more than a summary of your
17   business activities. Every asset, liability, net worth, income, cost, and expense account is listed
     here.” MICHAEL C. THOMSETT, BUILDER'S GUIDE TO ACCOUNTING 278 (2001); see also
18   ULRIC J. GELINAS ET AL., ACCOUNTING INFORMATION SYSTEMS 589 (6th ed. 2005)
     (explaining general ledgers represent an accumulation of data from different company
19   accounts); KATE MOONEY, THE ES SENTIAL DICTIONARY OF ACCOUNTING 179 (2004)
     (explaining general ledgers are “[a]n accounting device for collecting all the increases and decreases
20   to each account in the chart of accounts”). And, though most cases discuss “general ledgers” without
21   defining them, those cases detailing the term have not characterized it as an “income statement,” but
     recognized it contains significant information from various sources. See United States v. Catabran,
22   836 F.2d 453, 456 (9th Cir. 1988) (noting a general ledger contained “inventory, payroll, and other
     accounting data”); Boeing Co. v. KB Yuzhnoye, No. CV1300730ABAJWX, 2016 WL 2851297, at
23   *15 (C.D. Cal. May 13, 2016) (noting a company's “general ledgers and financial receipt
     records” showed “all payments that are made in and out of the company, all income and
24   expense accruals, and all assets and liabilities and related transactions”). The Court understands
25   Defendants' general ledger may be extensive, but this is not grounds for refusing to produce it.
     Reinsdorf v. Skechers U.S.A., Inc., 296 F.R.D. 604, 621 (C.D. Cal. 2013) (recognizing “Skechers'
26
     4
      Abbreviated to be #4/#127.
27   5
       Other descriptions of ledgers and journals are Johnson vs. Charps Welding and Fabrication, Inc.,
28   2016 WL 11709313 (USDC Min.) *4
                                                  1
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
        Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 8 of 32


     general ledger contained 4,944,684 rows of data for the years 2007 through 2010 and up to thirteen
 1   fields of data”). Acosta v. Austin Elec. Servs. LLC, 324 F.R.D. 210, 211–12 (D. Ariz. 2017)
 2
              “A ‘ledger’ is the principal book of accounts of a business establishment in which all
 3   the transactions of each day are entered under appropriate heads so as to show at a glance the
     debits and credits of each account.” Black's Law Dictionary 802 (rev. 5th ed. 1979). It is generally
 4   true that a ledger is regularly checked for accuracy and the ledger keeper thereby becomes trained in
     habits of precision, thus justifying a conclusion that the ledger is sufficiently trustworthy.[Citation
 5   omitted]. There is no evidence here, however, regarding the business function of the tally sheet, or
 6   its method of compilation, which would suggest the likelihood of accuracy. The argued analogy of
     the tally sheet to ledger sheets is therefore inapposite, and admission of the tally sheet was not
 7   required by the cases regarding admission of ledger sheets.” Piedmont Plastics, Inc. v. Mize Co., 58
     N.C. App. 135, 138–39, 293 S.E.2d 219, 222 (1982)
 8
              "Ms. Ronnau and Logistics' accounting staff also prepare and maintain separate
 9
     general ledgers and financial receipt ledgers and journals for ELUS showing all payments that
10   are made in and out of the company, all income and expense accruals, and all assets and
     liabilities and related transactions. " Boeing Co. v. KB Yuzhnoye, 2016 WL 2851297 at *15 (C.D.
11   Cal. May 13, 2016)
12          "Catabran contends that the computer printouts constituted a summary and were inadmissible
     under Fed.R.Evid. 1006 because the government failed to produce the underlying documents. His
13   argument is without merit. The computer printouts were the company's general ledgers. They
14   contained inventory, payroll, and other accounting data put into the computer by Bedder Nights'
     bookkeepers on a monthly basis." United States v. Catabran, 836 F.2d 453, 456–57 (9th Cir. 1988)
15
            Journals:
16
             “The so-called “books” in which these transactions are recorded will naturally vary
17   physically with the type and size of the enterprise. But whether the books are loose-leaf or
18   computerized, they are in essence always the same. Transactions are recorded in journals as they
     take place. The journal entries are then “posted” in a ledger where transactions are grouped by
19   subject matter under appropriate “account” headings. The more complex the business, the more
     specialized the books of original entry become (e.g., sales journal, cash receipts books). Cross-
20   references between journals and ledgers make possible verification of alleged posting or source,
     respectively, of each transaction.
21

22          Periodically, usually at the end of every month, both sides of each ledger account are
     “footed” (conventionally in small, penciled figures beneath the last amount recorded). These
23   ledger footings make possible the preparation of a trial balance. At the end of every fiscal
     period the books are then “closed” by transferring to the income statement the balances in the
24   “nominal” accounts (income and expense accounts) and by correlative adjustment of the
     “real” accounts (assets, liabilities, and owners' equity). Computerization of accounting ledgers
25
     and journals has changed the form, but not the substance of the foregoing analysis." § 33:12.
26   Elements of double-entry bookkeeping, 6 Ia. Prac., Business Organizations § 33:12

27          “Under a double-entry system, business transactions are accounted for in journals and
     ledgers. A journal is a book where each business transaction is listed. A ledger is a book that
28
                                                  2
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
        Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 9 of 32


     contains the totals from all of a business's journals. It is organized into different accounts.
 1   Separate journals are sometimes kept for types of transactions that occur frequently.
 2   Although journals and ledgers are referred to as “books,” they often take the form of
     electronic data.”
 3
     “Ledger accounts show income, expenses, assets, liabilities, and net worth. Income and
 4   expense accounts are closed at the end of each tax year. Asset, liability, and net worth accounts
     remain open permanently.” § 33:4. Ledgers and journals to be retained—Income tax—
 5   Record-keeping systems, 2 Ledgers and journals Retention § 33:4.
 6
            Notes are integral to financial statements:
 7
             " . . . . . . The maximum remediation disclosures at issue here were included in the
 8   challenged SEC reports’ notes to financial statements, all of which were prepared in accordance
     with GAAP. D.I. 43-6 at 24; Chemours, Quarterly Report (Form 10-Q), at 30 (Aug. 3, 2018);
 9   Chemours, Quarterly Report (Form 10-Q), at 30 (Nov. 2, 2018); D.I. 43-10 at F-46; D.I. 43-13 at 25.
     Consistent with SEC filing norms, the challenged SEC reports repeatedly refer to the notes in
10   question as “notes to the financial statements.” But the notes are undoubtedly part of the
     financial statements. See Disclosure Update and Simplification, 81 Fed. Reg. 51,608, 51,623-26
11
     (Aug. 4, 2016) (repeating seven times that “disclosures in the notes to the financial
12   statements ... are not subject to safe harbor protections under the PSLRA Statement of Financial
     Accounting Concepts No. 8: Conceptual Framework for Financial Reporting, at 1–2, Fin.
13   Accounting Standards Bd. (Dec. 2021),
     https://www.fasb.org/jsp/FASB/Document_C/DocumentPage?cid=1176179245223 (discussing
14   importance of notes to financial statements); cf. United States v. Denedo, 556 U.S. 904, 921 (2009)
     (Roberts, C.J.) (concurring) (noting that “footnotes are part of an opinion”). Indeed, Defendants
15
     themselves expressly stated in the two most recent challenged SEC reports that the “notes are
16   an integral part of [Chemours's] ... financial statements.” D.I. 43-10 at F-10; D.I. 43-13 at 7.
     Accordingly, the disclosures set forth in the notes to the financial statements are excluded from safe-
17   harbor protection under § 78u–5(b)(2)(A). In re Chemours Company Securities Litigation
     United States District Court, D. Delaware. February 24, 2022 Slip Copy2022 WL 610671 P. 9,( Fed.
18   Sec. L. Rep. P 101,330 )
19
            Without any and all ledgers, journals, and notes, financial statements are fabrications,
20   artifices, and concoctions (and default of #4/#127). Any claimed financial statement and profit and
21   loss statement lacks the compilations, aggregations, accumulations and representations that are
22   required.

23          1. BNA'S CONCEALMENT IS EVIDENCE OF GUILT AND FRAUD

24          Hiding evidence is admission of guilt:
25            "Ramos, as a former DA, is a sophisticated party who had the assistance of experienced civil
     litigation counsel, as least as of March 14, 2018. His explanations that he was unaware of these
26   obligations to retain the emails and text messages that could be relevant and material to litigation he
27   was embroiled in are unconvincing. This is even more so because Ramos, as an experienced

28
                                                  3
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 10 of 32


     criminal practitioner in the California state courts, should be familiar with Cal. Crim 371, which
 1   provides:
 2            If the defendant tried to hide evidence or discourage someone from testifying against
     (him/her), that conduct may show that (he/she) was aware of (his/her) guilt. If you conclude that the
 3   defendant made such an attempt, it is up to you to decide its meaning and importance.         However,
     evidence of such an attempt cannot prove guilt by itself.
 4           Judicial Council Of California Criminal Jury Instruction 371. The language in this proposed
     instruction is similar to the type of instruction that may be sought in a federal civil case when
 5   potentially relevant evidence is destroyed. Colonies Partners, L.P. v. Cty. of San Bernardino, [part
 6   omitted] 2020 WL 1496444, at *10 (C.D. Cal. Feb. 27, 2020) [part omitted]

 7          BNA executes endless concealment, forced ignorance, lies, and creates misleading

 8   statements. BNA lacks legitimate financial records, i.e., ledgers, journals and notes do not exist:
              Block #D & # E "THE WITNESS: Yes, Mr. Cook, are you talking about Byton North
 9
     America? BY MR. COOK: Q. Yeah? Byton North -- did somebody at BNA have access to the
10   company financials? [Full Trans., #142] THE WITNESS: No. BY MR. COOK: Q. Does that
     include everybody, including who the CA- -- CEO was; is that correct? [Full Trans., #142] THE
11   WITNESS: Yes. (P. 211) BLOCK #E: BY MR. COOK: Q. What's your answer, sir? A. I -- I can't
     remember who had access. A CEO would not -- yeah. A CEO would not be going into the company
12   financial information himself or herself. They would be requesting the information from the
     corporation finance team to present the information to them. So I -- I do not know. Q. Okay. And
13
     then this says, "Does the s-drive itself have restricted access or certain files have or folders have
14   restricted access?" And your answer is: "Most of the s-drive has restricted access. And that
     restriction would include BNA." Is that a fair statement, sir? A. That's correct." (P. 212)
15
            Block # C "The Witness: "That's correct that I did not have access to all the company's
16   financials. I had access to -- only to certain folders, which was required for me to do the job.
     Company financial information is confidential, and it was only available to some very senior
17
     leadership people in the finance team. And I don't know even whether the CEO had access."
18   (P. 209)

19   and Block 39-40: " See Block # 39-40 " A. As I said, I do not know the location of the Cloud
     servers to where they were. Whether they were in (P. 201) Block #40: China or India or the
20   Philippines or -- I -- I do not know. Q. Well, it says "repository?"What's "repository" mean? A
21   repository means a location where the documents are stored.

22        B.    BNA IS IN CONTEMPT OF COURT FOR THE FAILURE TO TURN OVER
     THE #4 [ANY AND ALL LEDGERS, JOURNALS AND NOTES DUE ON MARCH 24, 2022.
23
            The court issued Discovery Order (Doc. #127, P. 2, lines 6-7 and 22-25) that ordered BNA to
24
     produce any and all ledgers, journals, and notes. (#4/#127). BNA was ordered to turn over any and
25   all ledgers, journals, and notes on March 24, 2022 (i.e., 30 days from February 22, 2022) which have
26   not been turned over ("Document Order" Doc. #127) as follows: "The Court now orders BYTON to
27   produce documents responsive to RFPs 4 and 15 within 30 days…Accordingly, the Court grants

28
                                                  4
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 11 of 32


     EDAG’s motion to compel as to RFPs 4 and 15 and orders BYTON to produce responsive
 1
     documents within 30 days. (Doc. # 127, P. 2 lines 6 to 24)
 2
            BNA remained ordered to comply with the Discovery Order to produce any and all ledgers,
 3   journals, and notes (Doc. # 127), as follows: "EDAG’s second objection that BYTON will not
 4   produce documents does not seem to have anything to do with the protective order issue." (Doc. #
 5   150, P. 2, lines 8 to 9).” BNA spirited out all of any and all ledgers, journals, and notes, or they are

 6   just a myth including #4/#127 as follows:
             (Block # 39) . . . Q . . . . I'm looking at the word -- your words, "finance department
 7
     repository?" Is that electronic, or is that paper? A. It's both. Okay. So was it -- was that in the
 8   computer system that you had in Santa Clara, or was that in China? A. As I said, I do not know the
     location of the Cloud servers to where they were. Whether they were in (P. 201) Block #40
 9   China or India or the Philippines or -- I -- I do not know. Q. Well, it says "repository?"
     What's "repository" mean? A repository means a location where the documents are stored.
10
            BNA conceded that any and all ledgers, journals, and notes (#4/#127) have been spirited or
11
     are non-existent without the slightest excuse or reason because they have not been produced or they
12   are mythical. Nothing in the Protective Order (Doc. # 150) excuses BNA from not producing any
13   and all ledgers, journals, and notes listed in #4 (Doc. #127) when Sadha of BNA had control and
14   offers no excuse for the lack of the presence of any and all ledgers, journals and notes:
             “So -- so let's -- let's go back to, say, 2021? Is it a fair statement that you are based -- you
15
     were in control of BNA because nobody else was there? Is that a fair statement? A. I was
16   responsible for managing the operational activities of BNA. Q. Did you ever, say, in 2021 --
     make sure I get this correctly.” (Block # 27 (P. 117) (and Blocks #: 35, 36 and 37), and
17   Block # 19: Q. So who was in charge of the finances of BNA for 2020 going forward? A.
     2020 until the end of 2021, I was responsible for that. (P. 103)
18

19   Given that Sadha is "responsible for managing the operational activities of BNA," and "2020 until
     the end of 2021, I was responsible for that [finances of BNA]," and intimates "records" are
20
     domiciled in Cloud "servers" (but they are not "physical server") in "China or India or the
21
     Philippines," and ledgers, journal and notes have not been produced (despite #4/#127), the
22   conclusions are that any and all ledgers, journals and notes are either destroyed, mythical, do not
23   exist or never existed, that BNA refused to turn over the ledgers, journals, and notes, and any
24   financial statements and profit and loss statements are fabrications, artifices, and concoctions.
     C. BNA CLAIMS THAT ANY AND ALL LEDGERS, JOURNALS AND NOTES ARE IN
25   THE CLOUD, MYTHICAL OR TRASHED BY BNA (Block # 9, 10, 11, 12, 13, 16, 39 & 40),.
26           Nobody had access to company financials, which would include ledgers, journal and notes:
27           (Block # 45). "Q. Yeah? Byton North -- did somebody at BNA have access to the company
     financials? [Full Trans., #142] THE WITNESS: No. BY MR. COOK: Q. Does that include
28
                                                  5
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 12 of 32


     everybody, including who the CA- -- CEO was; is that correct? [Full Trans., #142] THE
 1   WITNESS: Yes. (P. 211)
 2
            Without the ledgers, journals, and notes, the financial statement would be a myth and
 3   fabrication. As Sadha stated: "I was responsible for managing the operational activities of
 4   BNA," " Q. So who was in charge of the finances of BNA for 2020 going forward? A. 2020 until
 5   the end of 2021, I was responsible for that." (supra)

 6          BNA was ordered to turn over any and all ledgers, journals and notes on March 24, 2022
     (i.e., 30 days from February 22, 2022) ("Document Order:" Doc. # 127) as follows: "The Court now
 7
     orders BYTON to produce documents responsive to RFPs 4 and 15 within 30 days… [AND]
 8
     Accordingly, the Court grants EDAG’s motion to compel as to RFPs 4 and 15 and orders BYTON
 9
     to produce responsive documents within 30 days. The Court denies EDAG’s motion to compel as to
10   RFP 13. (Doc. # 127, P. 2 lines 6 to 24)" On its face, the Document Order (Doc. # 127), twice,
11   ordered BNA to "produce the documents responsive to RFPs 4 and 15 days" and “. . .order to
12   produce responsive documents within 30 days." The Discovery Order (Doc. # 127) requires
     production of any and all ledgers, journals and notes on March 24, 2022. No any and all ledgers,
13
     journals, and notes were ever produced. The court ordered BNA to turnover #4/#127 and warned
14
     BNA as follows:
15
             "If BYTON has spirited these documents away and truly is not able to produce them, then
16   either the undersigned or Judge Chen will need to determine what consequences flow from that.
     However, the first step is this order compelling production." (Doc. # 127, P. 2 lines 10-12)
17
                    1. BNA AND SURROGATE SPIRITED ALL RECORDS
18

19          Block # 1 through Block # 53 demonstrates that BNA "spirited these documents away" of
     any and all ledgers, journals and notes. Given scope of the OEX, here is a chart by "Block" number,
20
     which is attached to the page number as follows:
21
            No knowledge of Investors and records: Blocks No #: 6, 7, 8, 9, 10, 11, 12, 13, 14, 16, & 32.
22          No documents are accessible, i.e., does not exist, no produced and lodged somewhere in
23   China: Blocks #: 7, 8, 9, 10, 11, 11, 12, 13, 14, 15, 16, 20 39, 40, 41, 42, 43, and 44, & 47.
24          No access to BNA records: Blocks #: 41, 42, 43, 44, 45, 46, & 48.

25          No Employees of BNA: Blocks #: 15 & 16.
            Vice President of Finance and signed documents but not employees or bona fide VP of BNA
26
            Blocks #: 17, 18, 19, &39
27
            No access of the BNA Document:         Block #: 20.
28
                                                  6
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
          Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 13 of 32


               Sadha executed BNA IRS Tax return for 2020 which includes Schedule L.
 1
              Blocks #: 21, 22, 23 & 24.
 2
              Documents not "mess" or otherwise damaged: Blocks #: 25 & 26.
 3             Sadha in Control of Finances: Blocks #: 27, 35, 36, & 37.
 4            Sadha did not know ZHANG YING: Block #: 28.
 5            Zhang Ying did not receive any BNA records: Blocks #: 28, 29 & 30.

 6            FMC did not get documents from BNA: Blocks #: 31 & 33.
              Byton entities imposed restriction in disclosing financial:   Blocks #: 41, 42, 43, 44, & 45.
 7
              Records in the Cloud in China, India or Philippines: Blocks # 39 & 40.
 8
              Block # 1:      Q. Maybe you can explain to me why, between 2018 to 2019, that -- to make
 9   sure I understand this, that BNA sent to FMC Cayman 167,139,906? Any explanation for that? [Full
     Trans., #142]. 6 P. 65 THE WITNESS: So from what I can recall, the
10   B-down funding that we went through -- some of the funding was received in U.S. dollars,
     because, at that time, as I mentioned before, it was really difficult to get money transferred
11
     between China and -- and the U.S. And so we wanted to get some of the funding in U.S.
12   dollars. And the B-down investors put some of the money in U.S. dollars, and -- and Byton
     North America was justify facilitating the receipt of that money in U.S. and transferring it to
13   the FMC entity where the money is due to go to. And -- and if you -- I think if you're
      referring to probably one side of the book in the bank transactions where the money has gone
14   out to FMC Cayman, but you're probably missing the fact that there is money
     that has come into Byton North America before that from investors. BY MR. COOK:
15
      Q. I -- I'm -- I'm sorry. I'm not understanding that 167,139,000 of money belonging to BNA --
16    A. No. That's -- [Full Trans., #142] THE WITNESS: I'm sorry. Full Trans., #142] (P. 66)

17           Block # 2: [. . .answer.] BY MR. COOK: Q. Which says it was money of BNA and resent
     to FMC Cayman. And I'm not sure why? I don't understand. Was it money sent for -- to buy
18   something or to do what? I don't understand. [Full Trans., #142] MR. COOK: Explain that. [Full
19   Trans., #142] THE WITNESS: Yeah. As -- as for my prior statement, the money never
     belonged to BNA in the first place. The money was being received to facilitate a transfer to
20   FMC because we did -- we wanted to avoid some of the transfer of -- or the conversion of
     money from Chinese Renminbi to U.S. dollars. So we facilitated the investors to put the
21   money in U.S. dollars into a U.S. bank account so that (P. 67)
22          Bock # 3:       FMC could have the money in U.S dollars and make it a little bit easier
23   for future payments. BY MR. COOK: Q. But the -- A. The money never belonged to FM- --
     BNA in the first place. Q. But the money was BNA's money; isn't that correct? A. That's
24   incorrect. [Full Trans., #142] BY MR. COOK: Q. Whose -- whose money was 167,000 -
     167,000,000? Who was that? A. FMC's money. Q. So it was FMC's money in -- in the bank
25   account of BNA; is that correct? [Full Trans., #142] THE WITNESS: Yeah. [Full Trans., #142]
     THE WITNESS: As -- BY MR. COOK: Q. Explain it again? A. As I mentioned before, before,
26   BNA was just (P. 68) . . . (carry over to Block #4)
27
     6
28       Doc. #142 is abbreviated into #142.
                                                  7
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 14 of 32



 1           Block # 4: Q. So, originally, the money belonged to FMC; is that correct? A. Correct. The
 2   investors investing money in FMC. Q. So the money -- the money -- this $167,000,000 never
     belonged to BNA? It belonged to FMC; is that correct? But it ended up in the BNA bank account; is
 3   that correct? [Full Trans., #142].THE WITNESS: The money did not belong to BNA. The money
     belonged to FMC, the investors depositing the money through an account in the U.S. to ensure that
 4   money is coming in U.S. dollars to make it easier for future transactions. /// BY MR. COOK: Q. To
     make sure you understand, this is money 117,000,000 [sic] went from a -- a bank account of BNA
 5   ((P. 69) (carry over to Block #5)
 6
              Block # 5:      to FMC Cayman, and 117- -- 117,000,000 [sic] didn't --was not -- didn't
 7   belong to BNA, but belonged to FMC Cayman; is that correct? That's the whole deal? [Full Trans.,
     #142]. BY MR. COOK: Q. Is that correct? A. That is correct. The money belonged to FMC. Q.
 8   Why did it get in the hands of BNA, to begin with? MR. SIPPRELLE: Object. Asked and answered
     at least three or four times, but go ahead. Apparently, Mr. Cook doesn't understand or -- MR.
 9
     COOK: Explain --[Full Trans., #142].. BY MR. COOK: Q. How did it end up there to begin with?
10   A. So these are investors that who willing to pay the money in U.S. dollars to avoid some of the
     transactional issues of transferring money between China and the U.S. due to the trade issues
11   and everything at that time. (P. 70)
12           Block # 6:       . . . .So we requested the investors to deposit the money in U.S. dollars in
     a U.S. bank account, which appened to be BNA's account. And -- and the money was,
13
     accordingly, transferred to FMC because it belonged to FMC in the first place. Q. So the -- to
14   make sure I -- I get this here? Originally, this FMC money was Chinese money? [Full Trans., #142].
     THE WITNESS: Well, I don't know who the investors were. Whether they were Chinese
15   money or U.S. investors, I don't know the details, or I don't recollect the details of the
     investors. BY MR. COOK: Q. Well, you're saying, originally, the money was FMC Cayman. And
16   I'm trying to figure out: What's the origin of that money? Was it in China or some other
17   place? [Full Trans., #142] BY MR. COOK: Q. Well, that -- that's saying investors?
     (P. 71)
18           Block #7:       What banks? A. I don't -- [Full Trans., #142] THE WITNESS: I -- I
     wouldn't know, Mr. Cook, where the investors were. BY MR. COOK: Q. Well, was it offshore?
19   THE WITNESS: I -- I don't know. BY MR. COOK: Q. How do you know any of this information?
     Who told you? A. These -- like, during this time, I was still overseeing the monies that were
20   coming into the account and going into the account and actually approving the transfer of
21   those monies, and there was nothing illegal that was done under my watch, as far as I know. Q.
     Well, as far as you know; is that correct? [Full Trans., #142] BY MR. COOK: Q. By the way, the
22   money -- was the money for the 117, was that money belonging to FMC Cayman's, or was that to
     investors? Which one? (P. 72)
23
             Block # 8:     [Full Trans., #142] You can explain, again, your recollection. THE
24   WITNESS: That was money that the investors were putting into the FMC entity. They were
25   investing in the company, and they were paying for their investment in U.S. dollars. BY MR.
     COOK: Q. Why -- who are those investors? Do you know who they were? [Full Trans., #142] THE
26   WITNESS: I'm sorry, Mr. Cook. I wouldn't know who the investors were at that time. BY MR.
     COOK: Q. Well, did -- did somebody tell you that this was money from an investor? A. I'm -- I'm
27   sure there were correspondence between FMC and -- also at that time to facilitate this. Q. So
     tell me, there must be some e-mail traffic concerning all of these transactions; isn't that correct? You
28
                                                  8
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 15 of 32


     must have been e-mailing somebody? [Full Trans., #142] THE WITNESS: Yeah -- yes, there
 1   would have been e-mail correspondence. (P. 73)
 2
             Block #9: BY MR. COOK: 2 Q. And so where's the e-mail traffic for all of 3 the -- all of
 3   these transactions here? [Full Trans., #142] THE WITNESS: I -- I wouldn't know. I wouldn't
     have access to those e-mails, Mr. Cook. BY MR. COOK: 8 Q. Well, these are the e-mails that you
 4   were writing; isn't that correct? [Full Trans., #142] . THE WITNESS: I may have responded to a
     request by e-mail from FMC to facilitate this transfer, but I do not have access to my Byton e-
 5   mails anymore. left the company last year. BY MR. COOK: Q. As -- as you're telling me? But
 6   where are those -- are those e-mails in, like -- are they accessible here, or are they in China? [Full
     Trans., #142] THE WITNESS: The e-mail server was a 23 Cloud-based server. I -- I don't know
 7   where it is. Not that savvy with the IT stuff. 25 BY MR. COOK: (P. 74)

 8           Block # 10: Well, we've been informed that all of the -- all of the e-mails are in a Cloud
     server somewhere in 3 China? Is that a correct statement? [Full Trans., #142] BY MR. COOK: Q.
 9
     You can answer that question, sir? A. I don't know where the server resides. Q. Well, I'm -- I
10   seem to be having some confusion here. You're -- we're getting information here that all of the
     records of BNA is somewhere in the server, which is a mess, by somebody, and that there are no
11   records here in the United States. So what I want to know is: Is all of your traffic dealing with,
     apparently, half a billion dollars, that all of those records are now somewhere in China; is that
12   correct?[Full Trans., #142] ( P. 75)
13
               Block #11: BY MR. COOK: Q. You can answer that? [Full Trans., #142]. HE WITNESS:
14   It -- it -- they're in a Cloud server. I don't know where the server is. BY MR. COOK: Q. Well,
     what do you mean you don't know where it is? [Full Trans., #142] . BY MR. COOK: Q. You can --
15   you can answer the question? [Full Trans., #142] Mr. Cook? BY MR. COOK: Q. Where's the ser- --
     a server is a piece of hardware. Is it somewhere in California? A. It's not a -- [Full Trans., #142]
16   MR. COOK: Let the witness answer his -- the question to him. (P. 76)
17
             Block #12: [Full Trans., #142] questions - - MR. COOK: Well -- [Full Trans., #142] THE
18   WITNESS: It's -- it's a Cloud server. It's not a physical server. BY MR. COOK: Q. And who's
     managing that Cloud server? Is that in China? [Full Trans., #142]. BY MR. COOK: Q. If you know?
19   A. It's managed by the IT group in China. Q. Okay. That -- that's what I want to know. So if I
     wanted to figure out what's going on with a half a billion dollars, I have to get the information from
20   Nanjing, the corporate finance people; isn't that correct? [Full Trans., #142] (P. 77)
21
              Block # 13: THE WITNESS: I don't know. I don't know what to say. A 2018
22   document -- [Full Trans., #142]. THE WITNESS: I'm sorry. I'm not going to answer that. BY
     MR. COOK: Q. Why not? Isn't it true that all of the records dealing with a half billion dollars is in
23   some type of Cloud in China somewhere; isn't that correct? [Full Trans., #142] BY MR. COOK:
     Q. You can answer that? A. As I said, it's a Cloud server. I don't know where the server is. It's -
24   - it's not a physical server. So it's -- it's truly in the Cloud, so I don't know which company
25   manages that. And I -- I wouldn't know. Q. All right. But it's -- you don't have control over it;
     isn't that correct? A. I never had. Q. Okay. And it is fair to say that the corporate finance team has
26   control over it?[Full Trans., #142] (P. 78)

27         Block # 14: THE WITNESS: Yeah. There will be contractual documents for -- for the
     work that was done by Byton North America. BY MR. COOK: Q. Where's -- where's the
28
                                                  9
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 16 of 32


     contracts? [Full Trans., #142] MR. COOK: No. He said the contracts. BY MR. COOK: Q. Where
 1   are the contracts? That's what you said -- [Full Trans., #142] BY MR. COOK: Q. -- under oath.
 2   That's what you're telling us under oath. So tell me where the contracts are, and the invoices -- [Full
     Trans., #142] BY MR. COOK: Q. -- and everything else. That's what I expect from you, sir? [Full
 3   Trans., #142] (P. 81)

 4           Block # 15: THE WITNESS: No. I -- I wouldn't know where those documents are. But I
     know that -- that there were documents that existed. BY MR. COOK: Q. And they are somewhere in
 5   the Cloud; is that right? [Full Trans., #142] BY MR. COOK: Q. Is that correct? A. They -- yeah,
 6   Byton typically used digital storage of documents, so yeah. I wouldn't know where those are.
     Q. Well, who -- who can I contact who might be able to help me and find out where those
 7   documents are? Can you tell me where? [Full Trans., #142] THE WITNESS: Sorry, Mr. Cook. I -
     - I don't know which employees are still left in the company in the different locations, so I
 8   wouldn't be able to name a person. BY MR. COOK: Q. Where is Eidee, E-i-d-e-e; Zhou, Z-h-o-
     u? (P. 82)
 9

10           Block #16: [Full Trans., #142] THE WITNESS: No. I -- I wouldn't know where those
     documents are. But I know that -- that there were documents that existed. BY MR. COOK: Q.
11   And they are somewhere in the Cloud; is that right? [Full Trans., #142] BY MR. COOK: Q. Is that
     correct? A. They -- yeah, Byton typically used digital storage of documents, so yeah. I wouldn't
12   know where those are. Q. Well, who -- who can I contact who might be able to help me and find
     out where those documents are? Can you tell me where? [Full Trans., #142] THE WITNESS:
13
     Sorry, Mr. Cook. I -- I don't know which employees are still left in the company in the
14   different locations, so I wouldn't be able to name a person. BY MR. COOK: Q. Where is Eidee,
     E-i-d-e-e; Zhou, Z-h-o-u? (P. 83)
15
            Block # 17: Who's that person? A. She's a former employee of one of our entities in
16   China. Q. But she is not a senior manager of treasury or finance of BNA; isn't that correct, too? A.
17   No. She -- she was not an employee of BNA. Q. Okay. And one more time, Teresa Shi, she is,
     likewise, not an -- not a person holding a title to HSBC; is that correct? [Full Trans., #142] BY
18   MR. COOK: Q. Can you answer that question? A. Sorry. Could you restate that question -- Q.
     Okay? A. -- please. Q. She -- her name's Teresa, T-e-r-e-s-a; Shi, S-h-i. She's listed as a VP of
19   finance in the business deposit account agreement? And all I want to know is: Is she a VP of
     finance of BNA? It's a "yes" or "no." A. No. Q. Okay. So if she's not why, did she sign the
20   "Business Deposit Account Agreement" when her title is VP of finance? Do you know why? A. I
21   wouldn't know. (P. 84)

22          Block # 18: Q. When did you find out that her name appeared as VP of finance? A. I knew
     that she was a VP of finance. Her title was VP of finance, but not VP of finance with BNA. Q.
23   Did you remember going over this topic when you were deposed? [Full Trans., #142]
     BY MR. COOK: Q. If you remember? No? A. We may have. Q. We're going to -- so let's go
24   change a little bit here. (P. 85)
25
           Block # 19: Q. So who was in charge of the finances of BNA for 2020 going forward? A.
26   2020 until the end of 2021, I was responsible for that. (P. 103)

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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 17 of 32


           Block # 20: Q. Okay. Aside from that -- aside from that, was there anybody in, say, 2020
 1   who had unfettered -- unfettered access to the finances kept by the corporate -- the corporate finance
 2   team? A. I -- I don't know. As I said, I don't control the accesses, so I don't know. (P. 104)\

 3            Block # 21: Q. So it's true, then, that the corporate finance team would be, every year,
     filling out a Schedule L; isn't that correct? [Full Trans., #142] BY MR. COOK: Q. Correct? (P.
 4   110)
              Block # 22: A. If it was a tax filing requirement, they would have provided the
 5   necessary documents. Q. And you're the one that signed off on the tax return; isn't that correct?
 6   [Full Trans., #142] THE WITNESS: I only signed off for 2020 tax return. BY MR. COOK: Q.
     Okay. For 2020, you signed off? Did you read the tax return? At that time, I would -- I would
 7   have read the tax return. (P. 111)

 8
            Block # 23: You signed the tax return; isn't that correct? For the 2020 tax return; isn't that
 9   correct? [Full Trans., #142] THE WITNESS: Yes. BY MR. COOK: Q. Okay. And you've relied on
     the corporate finance team that they gave you accurate information, including -- including Schedule
10   L and everything that followed it; isn't that correct? [Full Trans., #142] Q. You can answer that
     question? A. Yes, I signed the tax return. (P. 112)
11

12           Block # 24: Q. Okay. And you've relied on the corporate finance team that they gave you
     accurate information, including -- including Schedule L and everything that followed it; isn't that
13   correct? [Full Trans., #142] Q. You can answer that question? A. Yes, I signed the tax return. Q.
     Okay. Did -- did anybody inform you that the records somewhere in the Cloud were chaotic, a mess,
14   difficult to determine? [Full Trans., #142] (P. 112)
15
            Block # 25: BY MR. COOK: You can answer that question? A. No, no one specifically
16   told me that the information was vague or a mess or anything like that. Q. So as far as you
     knew, for the schedule -- for the 20-- 2020 tax return, you believe that it was accurate and well done
17   before you signed your name; isn't that correct? [Full Trans., #142] Q. You can answer the question?
     A. The information was prepared by our CPA who's been doing the work for us for a few
18   years, and so I trusted the work done by them and -- and signed the document at the request
19   of power of attorney because I didn't have even authorization to sign the document. Q. Did the
     CPA tell you that the records were a mess? [Full Trans., #142] THE WITNESS: The CPA didn't
20   say anything (P. 113)

21           Block # 26: about the records being a mess. BY MR. COOK: Q. Did any of these people
     say that -- that -- the -- that there was something wrong with the Cloud, that they -- that it was very
22   difficult to find the information? Did they ever tell you that? [Full Trans., #142] THE WITNESS:
23   No. (P. 114)

24          Block # 27: So -- so let's -- let's go back to, say, 2021? Is it a fair statement that you are
     based -- you were in control of BNA because nobody else was there? Is that a fair statement? A. I
25   was responsible for managing the operational activities of BNA. Q. Did you ever, say, in 2021 --
     make sure I get this correctly. (P. 117)
26

27          Block # 28: Q. Did you ever, say, in 2021 -- make sure I get this correctly. P. 117 Did you
     have any decisions with a Zhang Ying concerning the corporate documents and records of BNI
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 18 of 32


     [sic]? A. No. Q. Do you know of anybody who told you that they were in contact with Zhang Ying
 1   concerning the -- the finances of BNA? A. No. Q. Now, let's deal with what's called "my review
 2    of corporate documents and records?" During the year, say, of '20, did you turn over any records to
     Zhang Ying? A. I do not even know the person, Mr. Cook. Q. For the year 2021, did you know of
 3   the turnover of any records to Zhang Ying? And that is turning over corporate documents and
     records. Did you do that? A. No. Q. Did anybody, whoever it would be, ask you, while you were in
 4   charge for the corporate record -- the corporate documents and records of BNI [sic]? Anybody
     ask you? A. No. Q. Okay. Do you have access yourself -- well, actually, the year of '21, nobody
 5   asked you for correct also? (P. 118)
 6
             Block # 29: A. So I'm sort of trying to understanding what is your reference regarding
 7   corporate documents. Q. Well, I'm just reading what Mr. Zhang -- Mr. Zhang is saying, that he has
     -- quote -- "my review of the corporate documents and records?" And, let's say, for 2021, do you
 8   know whether or not you gave him or somebody on his behalf of -- quote -- "corporate documents
     and records of BNA"? A. I did not personally provide it, but I don't know if anyone else did. Q.
 9
     During the years of, say, '20 and '21, in fact, the records you -- pardon me -- the records you have
10   were related to some type of restriction; isn't that correct? [Full Trans., #142] THE WITNESS: Um -
     [Full Trans., #142] Mr. Cook. THE WITNESS: Could -- could you please repeat that. (P. 119)
11
              Block # 30: MR. COOK: Q. During the year of 2021 -- make it really easy -- did you --
12   make it one at a time? Did you provide anybody information regarding corporate documents and
     records of BNA -- make it that simple -- to anybody? [Full Trans., #142] THE WITNESS: Yeah.
13
     [Full Trans., #142] THE WITNESS: Again, the term "corporate documents" is very broad and
14   vague for me. So my answer is no. BY MR. COOK: Q. No, that you didn't turn these records over?
     Is that a fair statement here? [Full Trans., #142] THE WITNESS: No, I did not. BY MR. COOK:
15   Q. Okay. Let's move on here? That -- do you know -- is there anybody else. (P. 120)
16           Block # 31: Now, isn't it true that BNA was getting funds from investors? Isn't that
17   correct? A. Sorry, Mr. Cook. BNA was not getting funds from the investors. BNA was doing
     the work for the China entity. The investors were investing in FMC Cayman. Q. I'm -- I'm
18   sorry. Did BNA seek money from investors? A. No. Q. Did FMC Cayman get money from
     investors? A. Correct. Q. And was that done publicly? [Full Trans., #142] THE WITNESS:
19   Yeah. What do you mean, "publicly" ?BY MR. COOK: Q. Well, in other words, you -- you'd put
     it with a broker. You would have advertising. You would put it on the web. Whatever it would be?
20   A. It was done through normal -- I don't know what process was followed by FMC, but it was
21   not -- I mean, if your question was, was it a public place, it was not a public place. It was
     individual companies (P. 126)
22
             Block # 32: [It was individual companies].investing as private investors. Q. Okay.
23   Well, these investors would be U.S. investors or from where? [Full Trans., #142] THE WITNESS:
     Could have been from anywhere in the world. I wouldn't know. BY MR. COOK: Q. Let's go
24   backwards here. That -- the person who was -- that was FMC Caymans, that was the entity which
25   was soliciting for investors; is that correct? A. Correct. Q. And what -- what does FMC Caymans
     do, by the way? A. FMC Cayman is the holding company for the group. Q. Okay. And one of
26   the groups was BNA; isn't that correct? A. BNA was not part of FMC. BNA was a part of -- so
     Byton -- Byton Limited was a part of FMC. Q. I'm sorry? Could you repeat that. A. Byton
27   Limited was a part of the -- FMC was the holding company for the whole Byton group. Q.
     Which -- which entity was the entities? Which (P. 127)
28
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 19 of 32



 1           Block #33: Which--which entity was the entities? which ] was soliciting investors? Which
 2   one was it? [Full Trans., #142] THE WITNESS: FMC. BY MR. COOK: Q. FMC Cayman; is that
     correct? A. Correct. Q. And people would be investing their money into that entity; is that correct?
 3   A. That's my understanding. Q. And FMC -- what's the address of that company? A. I wouldn't
     know off the top of my head.Q. Well, did you BNA provide its finance statement to FMC for the
 4   benefit of the -- of the investors? [Full Trans., #142] THE WITNESS: BNA did not directly
     provide finance statements to FMC BY MR. COOK: Q. But did FMC provide final statements to
 5   its investors? [Full Trans., #142] (P. 128)
 6
             Block # 34: THE WITNESS: FMC used to share information through their regular
 7   board meetings, as any corporation would do. BY MR. COOK: Q. Sorry. Can you repeat that? So
     they -- I want to know: How did they communicate that to third parties, like investors? ? [Full
 8   Trans., #142]. THE WITNESS: Through -- through the board meetings. BY MR. COOK: Q.
     And what -- through the board meetings, what was said there? Was that -- the purpose of that to
 9
     providing a finance statement of BNA or that there was no financial statement or no records or
10   nothing? ? [Full Trans., #142] BY MR. COOK: Q. You can answer that question? A. Sorry, Mr.
     Kameswaran. Well above my pay grade. I did not know what was shared in these board
11   meetings. (P. 129)
12         Block #35: THE WITNESS: If you're asking me whether I was responsible for Byton
     North American finance operations at that time for dealing with the EDAG payments, the
13
     answer was yes. BY MR. COOK: Q. EDAG -- the EDAG payments? A. The answer is yes.Q.
14   What? The answer is "yes"? A. Yes. Yes, as for my testimony. (P. 142)

15
             Block # 36: Okay. Let me ask -- the question here is on (P. 143) "Sir, who is the most
16   qualified witness to testify regarding Byton's payment to suppliers?" And your response is, "I am, as
     the responsible person for Finance North America." Was that a correct statement, sir, at the time? A.
17   You said you're reading from a prior testimony. Q. Absolutely? [Full Trans., #142] [Full Trans.,
     #142] MR. COOK: You attended it. The date of the deposition was November 17, 2020. [Full
18   Trans., #142] MR. COOK: That's fine THE WITNESS: Yes, it was accurate as of that date, yes.
19   BY MR. COOK: Q. Thank you. And then on P. 62 -- make sure we have everything here, "How did
     your work on the M" -- M as in Mary -- "dash, Byte" -- B-y-t-e -- "project prepare you to testify as
20   the most qualified witness at Byton. (P. 144)

21
             Block # 37: regarding Byton's use of suppliers on the project"? Answer: "As the most
22   qualified current employee -- current employee and as my investment in the finance operations and
     business operations." Is that true as of November 2020? A. Yes, sir. Q. Thank you? Now -- then at
23   P. 63 -- hold on. It starts (P. 145)
24           Block # 38: Mr. Cook:         Q. As of -- oh, I'm sorry. Hold on. Bear with me? As of
25   January 8th, 2000- -- 2021, your deposition was taken, and then they asked you -- and you -- "It is
     correct that you -- you do not know what, if any, search terms were used to -- to search Carsten
26   Breifeld's e-mail account?" Answer: "Correct." Question: "Teresa Shi is still employed Byton;
     correct?" Answer: "Correct. Well, was Ms. Shi, as of January 2021, an employee of BNA? [Full
27   Trans., #142] THE WITNESS: I -- I -- I know she left the business at some time, Mr. Cook. But
     I'm not aware of the exact timing of when she left. And if my testimony at that time was yes, she
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 20 of 32


     was an employee, then maybe she was an employee at that time. I do not know the exact time when
 1   she left. You're trying to ask me to recall something from 15 months back. (P. 200)
 2
              Block # 39: BY MR. COOK: Q. He asked you is -- was she an employee of BNA at that
 3   time? A. She was never an employee of BNA. Q. Let's take a look at No. 301. "But when you say
     'they,' who asked you for specific documents related to invoices?" Answer: "Internal counsels. No,
 4   no not from my -- not my e-mails, you but from the department repository -- but from the finance
     department repository hard copies and so on." So what's the finance department repository? A. The
 5   finance department's repository was digital locations for storing the documents as for some
 6   physical filing cabinets where we had copies of supply invoices and so on. Q. I'm looking at the
     word -- your words, "finance department repository?" Is that electronic, or is that paper? A. It's
 7   both. Q. Okay. So was it -- was that in the computer system that you had in Santa Clara, or was that
     in China? A. As I said, I do not know the location of the Cloud servers to where they were.
 8   Whether they were in (P. 201)
 9
             Block #40: China or India or the Philippines or -- I -- I do not know. Q. Well, it says
10   "repository?"What's "repository" mean? A repository means a location where the documents are
     stored. Q. Well, that would be paper documents; is that correct? A. It could be. [Full Trans., #142]
11   THE WITNESS: These are paper documents. BY MR. COOK: Q. It says, "But the finance
     department repository, hard copies and so on?" So where are the copies of the finance department
12   repository? [Full Trans., #142] THE WITNESS: It's stored both digitally and -- and physically.
     That -- that's what I've said twice -- twice now. BY MR. COOK: Q. It says, "and hard copies
13
     on?" (P. 202)
14
             Block # 41: . . . . surprised your client hasn't given you those documents. BY MR. COOK:
15   Q. What is an s-drive? A. An s-drive is a drive that is -- a drive name that is in one of the
     servers. Q. What was in the s drive? A. An s-drive -- "s" just stand for shared drive, so all kinds
16   of documents would be an s-drive. Q. Would the s-drive include the financial records on behalf of
17   BNA? A. I cannot recollect whether the finance documents reside on an s-drive or -- or
     another drive. I cannot remember. Q. Well, let me -- I'll read this to you. It says, "What kind of
18   documents are stored on the s-drive?" Answer: "Some of the company's financial details and so
     on, which has restricted access, company finances, which has restricted access." So does that
19   refresh your recollection sitting here that, in fact, the s-drive did include company financial details
     and so on? A. Okay. That may be correct. Q. Okay? A. Yeah. (P. 207)
20

21            Block # 42: Q. Okay. And then it says, "Which has restricted access?" What's "restricted
     access"? A. So, again, as for my prior statement, there was some directories that we had access
22   to in Byton North America, and there were some directories that we did not. That is what it
     means by restricted access. Q. I'm sorry. Could you -- I'm sorry? The restricted access means that -
23   - did you have access to the -- to these records here? It says, "Some of the company's financial
     details and so on, which has restricted access --company financials which has restricted access." Is
24   that -- did I get that correctly? A. No. What I mentioned is there are various documents stored in
25   s-drive. There are certain folders that we have access to or certain people have access to. And
     there are certain folders that are restricted in terms of access. Q. But I'm looking at this short
26   sentence. It says, "Company financials, which has restricted access?" Does that means that -- that the
     -- that there was restricted access to you that you didn't have access to company financials?
27    [Full Trans., #142] (P. 208)
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                                                 14
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 21 of 32


             Block # 43: Explained repeatedly throughout the depo- -- throughout the testimony. Go
 1   ahead, Mr. Kameswaran. I guess you can explain it to him again. THE WITNESS: That's correct
 2   that I did not have access to all the company's financials. I had access to -- only to certain
     folders, which was required for me to do the job. Company financial information is
 3   confidential. and it was only available to some very senior leadership people in the finance
     team. And I don't know even whether the CEO had access. BY MR. COOK: Q. I'm sorry? The
 4   CEO didn't even have access to the company's financials? Is that what you're telling me? [Full
     Trans., #142] MR.. COOK: Oh, I'm sorry. THE WITNESS: Yes. These -- these folders were
 5   confidential -- contained confidential information, so the access was restricted to very few
 6   people in the company. Q. The company's BNA; is that correct? (P. 209)

 7           Block # 44: A. Sorry. Q. You said -- you said, restricted to the people in the company?
     "The company" being BNA; isn't that correct? A. The shared drive is a global shared drive. It's
 8   not a BNA specific shared drive. So corporate finance documents that are stored in there had
     restricted access and was accessible to only to very few people in the company for
 9
     confidentiality reasons. Q. I'm looking at the words "Company financials?" Who's the company?
10   That's what it says on P. 304, Line 19. It says, "Company financials." Who is "the company"? A.
     The -- the different entities of FMC Cayman. Q. That would be who? A. That would be Byton
11   North America and Byton Hong Kong, Nanjing New Energy entities. I don't remember the
     names of all the entities. Q. Well, did -- whoever was the, you know, running BNA, was he
12   blocked out of access to the company financials called "restricted access"? [Full Trans., #142] THE
     WITNESS: What do you mean by "who was running? (P. 210)
13

14            Block # 45: BY MR. COOK:. Well, who -- who -- who -- let's -- let's just deal with January
     -- of thousand -- January 2021, and maybe you can tell me who was running the company? [Full
15   Trans., #142] MR. COOK: (Inaudible.) [Full Trans., #142]. THE WITNESS: Yes, Mr. Cook, are
     you talking about Byton North America? BY MR. COOK: Q. Yeah? Byton North -- did
16   somebody at BNA have access to the company financials? [Full Trans., #142] THE WITNESS: No.
17   BY MR. COOK: Q. Does that include everybody, including who the CA- -- CEO was; is that
     correct? [Full Trans., #142] THE WITNESS: Yes. (P. 211)
18
              Block # 46: BY MR. COOK: Q. What's your answer, sir? . I -- I can't remember who had
19   access. A CEO would not -- yeah. A CEO would not be going into the company financial
     information himself or herself. They would be requesting the information from the
20   corporation finance team to present the information to them. So I -- I do not know. Q. Okay.
21   And then this says, "Does the s-drive itself have restricted access or certain files have or folders
     have restricted access?" And your answer is: "Most of the s-drive has restricted access. And that
22   restriction would include BNA." Is that a fair statement, sir? A. That's correct. Q. Okay. And --
     okay. And then it says, "So the s-drive was not searched to identify relevant documents for this
23   litigation?" And the answer is: "No." So we got that right? Is that correct? Do you want me to reread
     it to you, sir? A. Are you reading -- I mean, that's based on my testimony from -- (P. 212)
24

25           Block # 47: Q. Yes. That's correct? A. It was right at that time. Q. Hold on. Bear with
     me. What is an HR team, by the way? A. What is an HR team. Q. Yeah. It says -- it says, "So the I-
26   team would have an asset register of what IT equipment issued to the employee. The HR team, when
     they get notified of the person living, would notify IT and get access to that particular asset and
27   detail. And as part of the checklist, they would make -- they would make sure that the employee
     returns those assets back to Byton." That's a correct statement, sir? A. Yes, that's a correct
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 22 of 32


     statement. Q. Then it says, "So you testified as Byton's most qualified witness previously that
 1   Byton -- Byton China's corporation finance team stored the electronic version of EDAG invoices; is
 2   that correct?" The answer's correct? Is that -- is that correct? A. Yes. Q. (P. 213)

 3           Block # 48: Q. Well, did he -- is it working for another of the Byton group of companies?
     [Full Trans., #142] THE WITNESS: Sorry, sir. I wouldn't know. BY MR. COOK: Q. Okay.
 4   Well, apparently, these three people have access at some time towards -- quote -- "A review of
     corporate records?" Is there anybody else you can share with me who would have access to the
 5   corporate records and statements from statements and former employees? Who -- tell me who else.
 6   [Full Trans., #142] THE WITNESS: "Corporate records" is a very open statement. I mean, so
     I wouldn't know who else would have access to corporate records. I don't -- or I never did
 7   control any of those accesses. I wouldn't know. (P. 225)

 8           Block #49: Q. Well, since -- there seems to be somewhere 2 about $300 million? So, tell
     me, what was the sales for BNA for 2017? A. BNA did not sell product to any external
 9
     customers. The only work BNA was doing was R&D work for the -- the sister entity in China
10   and getting paid for it. So BNA did not have any other revenue stream, other than getting paid
     for the work that was being done by the -- the R&D engineers. Q. Any -- any income for the year
11   of 2018? A. Again, it would be whatever work was done, we were getting paid for. I wouldn't
     remember the exact numbers for any one of the years, for that matter. Q. So how about 2019?
12   Was any income due from -- due to BNA? A. There -- there was work that was happening still
     2019 until the later part of 2019 when things had to be -- a lot of the work had to be slowed
13
     down and stopped. Q. Okay. Well, was there any income? A. So 2019 there have been some
14   payments for the work that was done during 2019. Q. Okay. Well, was this - P. 43) - was there
     a -- was it
15
             Block # 50: only between these related entities, or was it to the person walking up and down
16   the street? Was a sale to a non-Byton entity? That's my question, to make it really easy for you. A. I
     cannot recollect any sale to any non-Byton entities -- when -- (inaudible) -- time (inaudible.) Q.
17
     Of the --[Full Trans., #142]." THE COURT REPORTER: Thank you so much. BY MR. COOK: Q.
18   How about 2021? Were there any sales to -- other than sales to other related entities? A. 2021, there
     -- there was virtually no engineering work done from memory. Q. So did -- did BNA send out a
19   1099 to the other entities? Do you know that? A. The other entities are not U.S. registered
     entities, so I'm not aware of any requirement to send a 1099. They are not U.S. tax paying
20   entities, so I'm not aware of any -- sending out any 1099s to other (P. 44); Block # 51:
21   entities.

22           Block # 51: BY MR. COOK: Did the BNA take any efforts to raise money to payoff
     EDAG, if you know? A. As I said, BNA is an R&D company. It does not sell products or
23   anything else. So why would anyone invest in a company that doesn't ultimately sell a product
     and generate revenue? Knowing this, still would be willing to invest money into Byton North
24   America, which is pure R&D service provider. Q. So you can read. Now, answer my question?
25   [Full Trans., Doc. #42]. THE WITNESS: I -- [Full Trans., Doc. #42]. - THE WITNESS: I did.
     [Full Trans., Doc. #42]. MR. COOK: No. No. The answers just go round and round and round. [Full
26   Trans., Doc. #42]. BY MR. COOK: Q. No. Answer my question? [Full Trans., Doc. #42]. THE
     WITNESS: Why did --         [Full Trans., Doc. #42].( P. 166)
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 23 of 32


              Block #52: THE WITNESS: BNA did not make any effort to raise funds. BY MR.
 1   COOK: Q. Okay. And all the -- and -- an I'm sure, in all the letters that was sent by BNA said that;
 2   is that correct, sir? [Full Trans., Doc. #42]. BY MR. COOK: Q. No. You can answer the question?
     A. Sorry. I couldn't hear the last bit. Q. Oh, you -- I'm sure that the letters that were sent out by
 3   BNA all said, "We're not paying you." That's -- that's what I should look for? "We're not paying" --
     [Full Trans., Doc. #42]. BY MR. COOK: Q. -- "you"? That's what -- that's what --[Full Trans.,
 4   Doc. #42]. BY MR. COOK:Q. -- it said? Am I correct? [Full Trans., Doc. #42]. BY MR. COOK: Q.
     You can answer that one. I want to make sure, when I go through the letters again that, my
 5   goodness, (P. 167)
 6            Block # 53: Q. So in your many years, did you ever get ahold of, say, the balance sheet for
     BNA? Ever see one of those? A. Like -- as I said, I was more managing the operational finance,
 7   and I was not involved in the corporate finance activities. Q. Okay. And did you ever see a profit
     and loss sheet -- profit and loss sheet for BNA between 2017 to the end of 2021? A. No. I would
 8   not have. Q. Did the company ever keep and maintain a balance sheet? [Full Trans., Doc. #42].
     THE WITNESS: Obviously, we -- we were filing taxes, so those details have to be maintained as
 9
     a corporate entity. BY MR. COOK: Q. And I presume that BNA did, in fact, complete a tax return
10   for -- to the IRS for 2017, 2018, 2019, 2020 and 2021; is that correct? [Full Trans., Doc. #42].
     WITNESS: I'm aware that the taxes were (P. 45)
11
                    2.  BNA SPIRITED ANY ALL LEDGERS, JOURNAL AND
12                  NOTES OR DON'T EXIST
13
            " . . .Service Provider shall maintain at its principal place of business full, complete and
14   accurate books of account and records of its activities under this Agreement in accordance with U.S.
15   GAAP." (Doc. 85-2, p.4, Par. 4.5.)" but ledgers, journals and notes are intentionally gone, non-
16   existent, or fake. "If BYTON has spirited these documents away and truly is not able to produce

17   them, then either the undersigned or Judge Chen will need to determine what consequences flow
     from that. However, the first step is this order compelling production." (Doc. # 127, l. 10 - 12).
18
            Any and all ledgers, journals and notes claimed to be in the Cloud and never to be found. No
19
     knowledge of Investors and related any and all ledgers, journals and notes: Blocks No #: 6, 7, 8, 9,
20   10, 11, 12, 13, 14, 16, & 32. No documents are accessible, i.e., does not exist, not produced and
21   lodged somewhere in China: Blocks #: 7, 8, 9, 10, 11, 11, 12, 13, 14, 15, 16, 20 39, 40, 41, 42, 43,
22   and 44, & 47. No access to BNA records: Blocks #: 41, 42, 43, 44, 45, 46, & 48.

23          BNA bears the consequences of spiriting the records and flaunting two (2) court orders (#4/
     #127 & OEX, Doc. # 96) when scatting ledgers, journals and notes to hither and yon. BNA bears
24
     those consequences of rendering any financial statement void of any information (Hands of Sadha
25
     (Block # 6, 7, & 8). or Block# 49-51 or fakes financial statements for fake businesses.
26       3. PROOF OF MYTH AND FAKE LEDGERS, JOURNAL AND NOTES.
27

28
                                                 17
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 24 of 32


              HIDING CORPORATE OFFICERS, AGENTS, OR EMPLOYEES (Block # 54) Q.
 1   Okay. So since I have you here, I'm going to read into the record that, "Byton NA does not currently
 2   have any officers, directors, managing agents or employees who are familiar with Byton N/A's profit
     and debts? " That's -- that's a reasonably accurate statement, sir? [Full Trans., #142] BY MR.
 3   COOK: Q. Can you answer that question, sir? A. There are no current employees in Byton North
     America. Q. Okay. Well, does BNA have a current officer, (P. 11, lines 10 to 25) any officers at
 4   this time, if you know? A. Sorry. I do not know. P.11, lines 25, and P. 12, lines 1-2. Okay. And
     Mr. Kirsch left some time in -- what was it? -- the third month of 2020, something like that? Does
 5   that sound about right? A. I do not know the exact dates, sir. (P. 12, lines 14-17) Q. Well, who
 6   are -- there -- was there a replacement corporate officer, such as the president, if you know? 23 A.
     Not that I know of. (P. 12, lines 20-22 [Full Trans., #142] BY MR. COOK: Q. You can answer
 7   that question, sir? A. There were -- there were no senior leadership team here in -- in North
     America that was actually running the -- running the operation. (P. 14, limes 1-5)
 8
             HIDING ANY AND ALL LEDGERS, JOURNALS AND NOTES OF BNA (Block #
 9
     55): Q. Okay [Full Trans., #142] Where are those records, as we sit here today? [Full Trans.,
10   #142] 6 THE WITNESS: So the records for the profit and loss and balance sheet would be with
     the corporate finance group in -- in China. [Full Trans., #142] BY MR. COOK: Q. Are they in
11   some way that I can ask for and deliver all of the finance records of BNA? Can that be done
     easily? [Full Trans., #142] THE WITNESS: I'm not aware of how documents are stored in the --
12   in the China entity so it's difficult for me to comment. when BNA never produced records. (P.
     37, lines 1-24)
13

14         HIDING THE NAME OF THE COMPANY ACCOUNTANT (Block # 56): Q. By the
     way, what's the name of the accountant who did the tax returns? A. It -- [Full Trans., #142] THE
15   WITNESS: Sorry, Mr. Cook. I cannot recollect. (P. 46, lines 4-10)
16           HIDING THE NAME OF THE LEGAL TEAM (Block # 57): Q. Let's talk about 20- --
17   2020? Did you sign the tax return, sir? A. For 2020, I signed the -- the tax return at the inception
     of -- with the -- with the power of attorney that was given to me to sign it. Q. Who gave you the
18   power of attorney? A. The -- the legal team. Q. Who in the legal team? A. Um -- [Full Trans.,
     #142] P. 47, lines 12-25. BY MR. COOK: Q. Let me rephrase it? Who signed the power of
19   attorney? A. I -- I wouldn't know, Mr. Cook. . . . A. It -- it was signed in Chinese with a
     Chinese stamp, and I wouldn't know who that person was. [Full Trans., #142] . . . A. As I
20   mentioned, it was signed by someone from -- or organized through our legal team. Someone in
21   China signed it. I wouldn't know who that person was. P. 48

22            HIDING ALL ANY AND ALL LEDGERS, JOURNALS AND NOTES BECAUSE
     THE CLOUD SERVER IS NOT A PHYSICAL SERVER OR SERVER OR TO BE FOUND (
23   Block # 60): Where's the ser- -- a server is a piece of hardware. Is it somewhere in California? A.
     It's not a -- [Full Trans., #142] . . . . P. 76, lines 18- 25; [Full Trans., #142] - MR. COOK: Well
24   -- [Full Trans., #142]. THE WITNESS: It's -- it's a Cloud server. It's not a physical server. (P.
25   77, lines 1 to 11); Q. Why not? Isn't it true that all of the records dealing with a half billion dollars is
     in some type of Cloud in China somewhere; isn't that correct? [Full Trans., #142] BY MR. COOK:
26   Q. You can answer that? A. As I said, it's a Cloud server. I don't know where the server is. It's -
     - it's not a physical server. So it's -- it's truly in the Cloud, so I don't know which company
27   manages that. And I -- I wouldn't know. Q. All right. But it's -- you don't have control over it; isn't
     that correct? A. I never had. P. 78, lines 8-22); Block #49 to 53: No sales, no revenue, payment.
28
                                                 18
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 25 of 32


            HIDING THE CLOUD IN NOWHERE: "As I said, I do not know the location of the
 1   Cloud servers to where they were. Whether they were in (P. 201) (Block #40) China or India
 2   or the Philippines or -- I -- I do not know. (P. 202)." (Block # 41)

 3          HIDING THE NAMES OF BOARD OF DIRECTORS (Block # 62): Q. . . Do you know
     the names of any of the board of directors of FMC Cayman? A. No, sir, I wouldn't. P. 135, lines
 4   13-19
            ABANDONMENT OF PRESERVATION (Block # 63): Would that include electronic
 5   conservation of those documents? A. The -- the electronic conservation of the documents, Mr.
 6   Cook, as I testified before, they are on various Cloud servers, so I wouldn't -- or portals, so I
     wouldn't know what was sitting where. Q. How about the finance records, including e-mails of
 7   BNA? Was -- to the extent it was electronic, did you do anything to preserve those records? THE
     WITNESS: Not my responsibility. BY MR. COOK: Q. What? A. Not my responsibility to store
 8   or preserve those documents. (P. 184, line 10 to 24) BNA never accounting for the Any and all
     ledgers, journals and notes nor produced .
 9

10           HIDING $467,000,000, AND HIDING THE CLOUD SERVER AND, HIDING THE
     COMPANY MANAGER AND DONT' KNOWN WHICH COMPANY MANAGER (Block #
11   64): ". . . . . . BY MR. COOK: Q. Why not? Isn't it true that all of the records dealing with a half
     billion dollars is in some type of Cloud in China somewhere; isn't that correct? [Full Trans., #142]
12   BY MR. COOK: Q. You can answer that? A. As I said, it's a Cloud server. I don't know where
     the server is. It's -- it's not a physical server. So it's -- it's truly in the Cloud, so I don't know
13
     which company manages that. And I -- I wouldn't know. Q. All right. But it's -- you don't have
14   control over it; isn't that correct? A. I never had (P. 78, 1-22) Q. Okay. And it is fair to say that the
     corporate finance team has control over it? [Full Trans., #142]. THE WITNESS: I -- I don't know
15   how much access they have of the archives. (P. 79 lines 1-3) ** Okay. And how about any-any
     type of contract, any such contracts regarding the movement of $467,000,000, almost -- almost half
16   a billion? Do you have any of that paperwork? [Full Trans., #142] (P. 80, lines 20-25) THE
17   WITNESS: Yeah. There will be contractual documents for -- for the work that was done by
     Byton North America. Q BY MR. COOK: Where's -- where's the contracts? [Full Trans., #142]
18   ....THE WITNESS: No. I -- I wouldn't know where those documents are. But I know that -- that
     there were documents that existed. BY MR. COOK: Q. And they are somewhere in the Cloud; is
19   that right? [Full Trans., #142] BY MR. COOK: Q. Is that correct? A. They -- yeah, Byton
     typically used digital storage of documents, so yeah. I wouldn't know where those are. Q. Well,
20   who -- who can I contact who might be able to help me and find out where those documents are?
21   Can you tell me where? [Full Trans., #142] THE WITNESS: Sorry, Mr. Cook. I -- I don't know
     which employees are still left in the company in the different locations, so I wouldn't be able to
22   name a person. (P. 83, lines1 to 23)

23   Adding up all of these statements from Sadha, the ledgers, journal, and notes which consist of the
24   core of any financial statement is gone, whether a myth, lost, or completely inaccessible. BNA is

25   hiding behind myth after myth for Byton Entities:
             "The shared drive is a global shared drive. It's not a BNA specific shared drive. So
26   corporate finance documents that are stored in there had restricted access and was accessible
27   to only to very few people in the company for confidentiality reasons" (Block # 44). "Company
     financial information is confidential. and it was only available to some very senior leadership
28
                                                 19
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
           Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 26 of 32


     people in the finance team. And I don't know even whether the CEO had access. . ... THE
 1   WITNESS: Yes. These -- these folders were confidential -- contained confidential information,
 2   so the access was restricted to very few people in the company . . ." (Block #43).

 3              If the "shared drive is a global shared drive," all of the Byton Entities are a single entity and

 4   shielded by "confidential" and "restricted." The fact that the "shared drive" is impenetrable and
     therefore "IMPOSSIBLE" or "RESTRICTED" (or both) is therefore a myth. But, BNA has not
 5
     provided any and all ledgers, journals and notes because "The only work BNA was doing was R&D
 6
     work for the -- the sister entity in China and getting paid for it. So BNA did not have any other
 7
     revenue stream, other than getting paid for the work that was being done by the -- the R&D
 8   engineers. . . . A. Again, it would be whatever work was done, we were getting paid for." (Block #
 9   49 etc) "A. As I said, BNA is an R&D company. It does not sell products or anything else." (Block

10   # 51). Ledgers, journals, notes, and financial statements are fake, i.e., someone else owns the place.

11   II.      REMEDIES AVAILABLE RULE 37(b)(2)(A)(vi) AND RULE 37(e)(2) and (C).
12            A.      RELIEF UNDER RULE 37(b)(2)(A)(vi)
13             BNA disobeyed #4/ # 127, which consisted of any and all ledgers, journals and notes, due
14   on March 24, 2022 when no any and all ledgers, journals and notes were provided and no excuses
15   under Rule 37(b)(2)(A)(vi) as follow:
               . . . . . (A) For Not Obeying a Discovery Order. If a party or a party's officer, director, or
16
            managing agent—or a witness designated under Rule 30(b)(6) or 31(a)(4)—fails to obey an
17          order to provide or permit discovery, including an order under Rule 26(f), 35, or 37(a), the
            court where the action is pending may issue further just orders. They may include the
18          following: (vi) rendering a default judgment against the disobedient party; or
19            EDAG is entitled to an order under Rule 37(b)(2)(A)(vi) because BNA spirited (or scattered)

20   any and all ledgers, journals and notes, (#4/# 127) hither and yon. EDAG seeks the default of the
     Motion to Amend per C.C.P. Section 187 (Doc. # 71 & #72) when in fact the purpose of any and all
21
     ledgers, journals and notes, if revealed, would support EDAG's motion that the entities are one
22
     unity, i.e., one entity for making "goods," with "no any and all ledgers, journals and notes," with no
23
     access to any and all ledgers, journals and notes and no money (Block # 49 to #52). The refusal to
24   comply with #4/#127, and the entry of the order (Ibid) are the (1) goal of obstruction of EDAG in
25   prosecuting the Motion to Amend (Doc. #71 and #72), (2) obstruct EDAG in locating assets or

26   adding more parties to the judgment or locating assets and (3) obstruct preservation of records.
              The refusal to comply with the #4/# 127 order tracks in parallel with Rule 37(e)(2)(C)
27
     campaign of "should have been preserved in the anticipation or conduct of litigation is lost because
28
                                                 20
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
         Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 27 of 32


     a party failed to take reasonable steps to preserve it" but refused to preserve the any and all ledgers,
 1
     journals and notes or destroyed any and all ledgers, journals and notes when the BNA admitted any
 2
     and all ledgers, journals and notes are: "A. As I said, I do not know the location of the Cloud
 3   servers to where they were. Whether they were in (P. 201) (Block #40) China or India or the
 4   Philippines or -- I -- I do not know. (P.202). Defining #4/#127 is the same as "preserved in the
 5   anticipation" of records when defiance of the order is the destruction of preservation of records.

 6                 1.   EDAG likewise Seeks Relief under Rule 37(e)(2)(C)
            (1) Preponderance:
 7
            EDAG bears the preponderance to "should have been preserved in the anticipation or
 8   conduct of litigation is lost because a party failed to take reasonable steps to preserve it" as follows:
 9
             "But at least one district court within the Ninth Circuit applying the amended version of Rule
10   37(e) has indicated that “[t]he applicable standard of proof for spoliation motions in the Ninth
     Circuit is the preponderance of evidence.” [Citation omitted] The Court therefore concludes that the
11   preponderance-of-the-evidence standard continues to apply." CrossFit, Inc. v. Nat'l Strength &
12   Conditioning Ass'n, [part omitted] 2019 WL 6527951, at *10 (S.D. Cal. Dec. 4, 2019);

13          “The applicable standard of proof for spoliation in the Ninth Circuit appears to be by a
     preponderance of the evidence.’ [Citation omitted] Colonies Partners, L.P. v. Cty. of San
14
     Bernardino, [part committed] 2020 WL 1496444, at *3 (C.D. Cal. Feb. 27, 2020), report and
15
     recommendation adopted, [part omitted] 2020 WL 1491339 (C.D. Cal. Mar. 27, 2020)
16
            EDAG seeks a default of the Motion To Amend (Doc. # 71 & #72) by adding Byton Limited
17   as a judgment pursuant to Rule 37(e)(2)(C)
18           " If electronically stored information that should have been preserved in the anticipation or
     conduct of litigation is lost because a party failed to take reasonable steps to preserve it, and it
19   cannot be restored or replaced through additional discovery, the court: . . . . (2); or (C) dismiss the
20   action or enter a default judgment."

21          The OEX Transcripts demonstrates the failure to take reasonable steps to preserve any and

22   all ledgers, journals and notes requires by Rule 37(e)(2)(C) because BNA (1) has not produced any
     and all ledgers, journals and notes, and (2) admits that the ledgers, journal, and notes are a myth
23
     because alleged ledgers, journal and notes are in the Cloud. (Block # 9, 10, 11, 12, 13, 16, 39 & 40).
24
            BNA, FMC CAYMAN, Byton Limited, and Zhang Ying were acted as an unified entity,
25   where BNA provided "products" only to the Byton entities and no third party revenue 7 whoever
26

27   7
       Claimed sales only to other Byton Entities and no revenue from third parties other Byton Entities:
28   Blocks # 49 & 51. BNA did not any effort to raise funds: Block # 52.
                                                 21
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
          Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 28 of 32


     they were, that BNA has ZERO any and all ledgers, journals and notes8 and no access to any and all
 1
     ledgers, journals and notes or raise funds,9 including profit and loss 10 and that Sadha has no ledgers,
 2
     journals and notes for the operation of BNA, 11 zero money (Doc. # 133-1, Ex's: "A," "B," and
 3   "C ” ), and ZERO employees 12, no revenue stream to anyone, 13 the cloud is in China, India, or
 4   Philippines, 14 denial of management of any financial matter. 15 In addition to the absence of
 5   revenue, customer, any and all ledgers, journals and notes, any rational explanation for the spiriting

 6   of $143,000,000.00 or $167,139,906.00 (Doc. # 133-1, Ex's: "A," "B," and "C ”), the absence of
     financial information, the lack of any and all ledgers, journals and notes, or access, BNA defaulted
 7
     on #4/#127, and the claim that any and all ledgers, journals and notes are somewhere in the clouds,
 8                                                            16
     somewhere and under the control of unknown persons.           BNA offers no rationale why BNA failed
 9
     to comply with #4/#127, and why BNA's ledgers, journals and notes have been spirited to China (or
10   scattered), warehoused in "Clouds" or do not exist or BNA does not exist. Blocks #49 to # 51.
11           BNA does not justify why BNA's ledgers, journals and notes are somewhere in the Cloud:
12   "Block 39: [Line 21: Q. Okay. So was it -- was that in the computer Line 22 system that you had in
     Santa Clara, or was that in23 China?] "A. As I said, I do not know the location of the Cloud
13

14   8
        No knowledge of Investors and records: Blocks No #: 6, 7, 8, 9, 10, 11, 12, 13, 14, 16, & 32.
15   No documents are accessible, i.e., does not exist, no produced and lodged somewhere in China:
     Blocks #: 7, 8, 9, 10, 11, 11, 12, 13, 14, 15, 16, 20 39, 40, 41, 42, 43, and 44, & 47. No access to
16   BNA records: Blocks #: 41, 42, 43, 44, 45, 46, & 48.
     9
       No access to BNA records: Blocks #: 41, 42, 43, 44, 45, 46, & 48. No Employees of BNA: Blocks
17   #: 15 & 16. Vice President of Finance and signed documents but not employees or bona fide VP of
     BNA: Blocks #: 17, 18, 19, &39. No access of the BNA Document: Block #: 20. Sadha
18
     Kameswaran in Control of Finances: Blocks #: 27, 35, 36, & 37. Sadha Kameswaran did not know
19   ZHANG YING: Block #: 28. Zhang Ying did not receive any BNA records: Blocks #: 28, 29 & 30.
     FMC did not get documents from BNA: Blocks #: 31 & 33. Byton entities imposed restriction in
20   disclosing financial records. Blocks #: 41, 42, 43, 44, & 45. BNA did not any effort to raise funds:
     Block # 52.
21   10
        Never saw a profit and loss sheet between 2017 to the end of 2021: Block #53
     11
        No access to BNA records: Blocks #: 41, 42, 43, 44, 45, 46, & 48. No Employees of BNA: Blocks
22
     #: 15 & 16.
     12
23      No Employees of BNA: Blocks #: 15 & 16.
     13
         No revenue stream to anyone, other than payment from other Byton Entities: Blocks # 49, & 51.
24   14
         Records in the Cloud in China, India or Philippines: Blocks # 39 & 40 & #9, 10, 11, 12, 13, 16.
     15
25      Denial of management of financials: Block # 53.
     16
       No knowledge of Investors and records: Blocks No #: 6, 7, 8, 9, 10, 11, 12, 13, 14, 16, & 32.
26   No documents are accessible, i.e., does not exist, no produced and lodged somewhere in China:
     Blocks #: 7, 8, 9, 10, 11, 11, 12, 13, 14, 15, 16, 20 39, 40, 41, 42, 43, and 44, & 47. No access to
27   BNA records: Blocks #: 41, 42, 43, 44, 45, 46, & 48.
28
                                                 22
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 29 of 32


     servers to where they were. Whether they were in (P. 201) (Block #40) China or India or the
 1
     Philippines or -- I -- I do not know. "(P. 202). BNA did everything to spirit any and all ledgers,
 2
     journals and notes: No access to BNA any and all ledgers, journals and notes: Blocks #: 41, 42, 43,
 3   44, 45, 46, & 48. No Employees of BNA: Blocks #: 15 & 16. Vice President of Finance and signed
 4   documents but not employees or bona fide VP of BNA Blocks #: 17, 18, 19, &39. No access of the
 5   BNA Document Block #: 20. The totality of facts is that BNA and its surrogates removed everything

 6   and anything from the United States (i.e., money, any and all ledgers, journals and notes, digital
     information, memory of former employees, and even employees) to make sure that EDAG will
 7
     never collect or add new parties. Clouds are found in Blocks # 9, 10, 11, 12, 13, 16, 39 & 40.
 8
                2.  INTENT INFERRED FOR THE FAILURE TO TAKE
 9            MEASURES TO PRESERVE RELEVANT EVIDENCE AND
               INCRIMINATING OF EVIDENCE OF CORRUPTION
10
            Plaintiff is not required to prove "prejudice" as follows:
11
            "Subdivision (e)(2) does not include a requirement that the court find prejudice to the party
12   deprived of the information. CrossFit, Inc. v. Nat'l Strength & Conditioning Ass'n, [Part omitted]
     2019 WL 6527951, at *12 (S.D. Cal. Dec. 4, 2019)
13
            EDAG can prove that that the intent as inferred:
14
              "Intent may be inferred if a party is on notice that documents were potentially relevant and
15   fails to take measures to preserve relevant evidence, or otherwise seeks to “keep incriminating facts
     out of evidence.” [Colonies Partners, L.P. v. Cty. of San Bernardino, [part omitted] 2020 WL
16
     1496444, at *9–10 (C.D. Cal. Feb. 27, 2020), [part omitted]"
17
                     3.      HIDING ANY AND ALL LEDGERS, JOURNALS AND
18                                  NOTES IS PROOF OF GUILT
19          BNA has failed to provide any rationale for spiriting any and all ledgers, journals and
20   notes of any type assuming that they exist or scattered or in the Cloud.(Blocks ##9, 10, 11, 12, 13,
21   16, 39 & 40). BNA sought to hide and conceal all evidence, whether it be evidence of helpful

22   witnesses such as accountants and attorneys and any and all ledgers, journals and notes which would
     unwind contracts, trade and transfers and unwinding some $467,000,000 as follows:
23
              "Totality destroyed evidence to avoid litigation obligations. "To issue harsh sanctions, such
24   as dismissal, under Rule 37(e), a court must find that “the party acted with the intent to deprive
     another party of the information's use in the litigation.” Fed. R. Civ. P. 37(e)(2). “[C]ourts have
25   found that a party's conduct satisfies Rule 37(e)(2)’s intent requirement when the evidence shows or
26   it is reasonable to infer, that [the] party purposefully destroyed evidence to avoid its litigation
     obligations.” ... The Court finds that the totality of the circumstances indicate that AllRide's
27   spoliation was intentional. The Court will issue terminating sanctions against AllRide pursuant to

28
                                                 23
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
        Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 30 of 32


     Rule 37(e)(2)(C)." WeRide Corp. v. Kun Huang, [part omitted] WL 1967209, at *12 (N.D. Cal. Apr.
 1   24, 2020)
 2
                          4.       BALANCING FACTORS
 3          Here the balancing factors:

 4            "Moreover, a court adjudicating a request for terminating sanctions pursuant to Rule
     37(e)(2)(C) must consider the following factors: (1) the public's interest in expeditious resolution of
 5   litigation; (2) the court's need to manage its dockets; (3) the risk of prejudice to the party seeking
     sanctions; (4) the public policy favoring disposition of cases on their merits; and (5) the availability
 6
     of less drastic sanctions. [Citation omitted]." Mfg. Automation & Software Sys., Inc. v. Hughes,
 7   [part citation] WL 2059839, at *4 (C.D. Cal. Apr. 30, 2018)

 8          Enforcement is usually the end to litigation based on Rule 37(b)(A)(2)(A)(iv) & Rule
 9   37(e)(2)(C) based on the post judgment order to turn over any and all ledgers, journals and notes

10   and thwart collection of $30 mil judgment. The court would seek to advance the docket which
     would match the request to seek a default of BYTON Limited as the corporate parent in the pending
11
     Motion to Amend (Doc. #71 & 72). The risk of prejudice is minimal given that BNA is subject to a
12
     final judgment and order (#4/#127). Public policy is given that BNA has done everything to thwart
13   justice by shipping out $143,000,000.00 or $167,139,906.00 (Doc. # 133-1, Ex's: "A," "B," and
14   "C ”) and scattering the record offshore: Blocks #9, 10, 11, 12, 13, 16, 39 & 40). Plaintiff has
15   therefore met the burden of proof under Rule 37(e)(2)(C) where BNA has hid everything, i.e., 100%

16   and the including the ledgers, journal, and notes which are the bones of any financial statement and
     profit and loss statement. Financial and profit and loss statements are compilations, aggregations,
17
     accumulations, and representations whose foundation is ledgers, journals, and notes which BNA
18
     never produced, Less sanctions are not available when BNA's business is in the clouds. (Blocks #9,
19
     10, 11, 12, 13, 16, 39 & 40)
20   III.   FAILURE TO COMPLY WITH AN ORDER TO PRODUCE ANY AND ALL
            LEDGERS, JOURNALS AND NOTES RESULTS IN A DEFAULT JUDGMENT
21

22
            Failure to comply with an order to produce any and all ledgers, journals and notes and
23   implicitly Rule 37(b)(2)(A)(vi): results in a default judgment as follows:
24
              "Defendants have failed to produce their general ledger or ledgers in violation of the court's
25   May 31, 2007 Order. The court's May 31, 2007 Order specifically required defendants to produce
     “balance sheets, cash statements, registers, journals, ledgers.” [part omitted], and from the excerpts
26   of the general ledger produced by defendants' tax accountants Nardella & Taylor, see general ledger
27   excerpts, Ex. A to Pl.'s Suppl. Mem., that defendants possess or have possessed at some point during
     this litigation a general ledger. Defendants have offered no plausible explanation for why these
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                                                 24
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 31 of 32


     business records have not been produced and, as such, the court finds that defendants have willfully
 1   violated the court's May 31, 2007 Order to produce general ledgers." S. New England Tel. Co. v.
 2   Glob. NAPs, Inc., 251 F.R.D. 82, 90–91 (D. Conn. 2008), aff'd, 624 F.3d 123 (2d Cir. 2010)

 3   The court found that the Defendants willfully violated the court's order to turn as follows:

 4            "The court finds that all defendants have willfully violated the court's discovery orders by
     failing to turn over their general ledgers and other business records, lying to the court about the
 5   inability to obtain documents from third parties, and destroying and withholding documents that
     were within the scope of the discovery requests and Orders. These defendants have committed a
 6   fraud upon this court. These willful violations have prejudiced, indeed likely destroyed, SNET's
 7   ability to prove its case, and have squandered judicial resources by dragging the court into frequent
     policing of discovery disputes over an inordinate period of time. In light of the defendants' history of
 8   violations, and the explicit warning that failure to comply would result in a default judgment
     entering, the court finds that lesser sanctions would not deter the defendants from further delaying
 9   discovery in this case. Indeed, the court has little confidence that the discovery sought continues to
     exist" S. New England Tel. Co. v. Glob. NAPs, Inc., supra, p 96.
10

11   IV.    FAKE RECORDS OR RECORDS SCATTERED HITHER AND YONG
12          Case law and professionals and academic articles all state that ledgers, journal and notes are
     the bones of the financial statement which is only a snap shot of the compilations, aggregations,
13
     accumulations and representations, which keeps tract (ledgers and journal) and explains line items
14
     (notes) of the financial statement. A financial statement is obligated to be thorough and an accurate
15   snap shot reflection of the ledgers, journals and the notes at snap shot of the time, but nothing more.
16   Without the ledgers, journal and notes at hand, the financial statement is an empty, if not fraudulent,
17   representation of BNA. If they exist (unlikely), BNA scattered the ledgers, journal and notes hither

18   and yon ("Clouds" of India, China and Philippines) and the financial statement with all fabricated
     line items. Likewise BNA intentionally failed to meet the standard of FRCP 37(e)(2)(C) when BNA
19
     stated repeatedly that the "records" were warehoused in the Cloud by no name and somewhere
20
     "India, China or Philippines" or nowhere. Plaintiff seeks from the court an order granting the relief
21
     as sought, i.e., the granting of Rule 37(b) (b)(2)(A)(vii) and Rule 37(e)(2)(C) and declares a default
22   of the Motion to Amend by adding Byton-Limited. (Doc. # 71 and #72). But, the punch line is also
23   easy: "BNA did not sell product to any external customers. The only work BNA was doing was

24   R&D work for the -- the sister entity in China and getting paid for it. So BNA did not have any other
     revenue stream, other than getting paid for the work that was being done by the -- the R&D
25
     engineers. Q. Any -- any income for the year of 2018? A. Again, it would be whatever work was
26
     done, we were getting paid for. I wouldn't remember the exact numbers for any one of the years, for
27
     that matter." Block # 49 through #51. "It does not sell products or anything else." BNA's ledgers,
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                                                 25
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
      RELIEF FOR THE FAILURE AND REFUSAL TO TURN OVER ANY AND ALL LEDGERS, JOURNALS AND
       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
       Case 3:21-cv-04736-EMC Document 160 Filed 04/12/22 Page 32 of 32


     journals and notes never existed, and the financial statements are a fake.
 1

 2

 3   Dated: April 12, 2022                                COOK COLLECTION ATTORNEYS PLC

 4                                                        _____/s/ David J. Cook_______________
 5                                                        DAVID J. COOK, Esq.
                                                          Attorney for EDAG Engineering GmbH
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND MOTION FOR
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       NOTES (#4, DOC. # 127) AND FAILURE TO PRESERVE ELECTRONICALLY STORED INFORMATION
